                                         Case 3:23-cv-00129-PDW-ARS Document 1-13 Filed 07/11/23 Page 1 of 5

U.S. Department of Justice
Bureau of Alcohol, Tobacco, Firearms and Explosives                                             Report of Violations



FFL: MOREHOUSE ENTERPRISES, LLC
Inspection: FCI-38752
Date Generated: 3/6/2023
RDS Key: 3-45-01253
Lead Industry Operations Investigator: Jacob Temp




                                                                          Exhibit 13


For Official Use Only                                                 Page 1 of 5                                      ATF E-FORM 5030.5
                                                                                                                       Revision Date: October 2022
                                         Case 3:23-cv-00129-PDW-ARS Document 1-13 Filed 07/11/23 Page 2 of 5


                                                                                                                                                Number of       Number of
                Regulation                                                    Corrective Action(s)                                               Forms          Instances
        27 CFR 478.99(a):                                                                                                                       1           1
                                         Cease and desist all firearm transfers (including lower receivers) other than a rifle or shotgun, to
        Unlawful sale or delivery    •
  1                                      residents of another state.
        of a firearm other than a
        rifle or shotgun to an out
        of state resident




        27 CFR 478.102(a):                                                                                                                      1           1
                                         Execute a required NICS/POC background check for all future over-the-counter firearm
        Failure to complete a        •
  2                                      transactions.
        NICS/POC background
        check




        27 CFR 478.125(e):                                                                                                                                  1
        Failure to maintain an       • Accurately, completely & timely record all required future firearm disposition information.
  3     accurate/complete/timely
        acquisition and
        disposition record of
        firearms



        27 CFR 478.124(c)(3)(iv):                                                                                                               2           2
        Failure to record NICS       • Execute and retain a complete and accurate ATF Form 4473 on all future firearm transactions.
  4     contact information on an        Ensure that all required NICS/POC background check information is obtained and accurately
        ATF F 4473                   •
                                         recorded on all future ATF Forms 4473, Section C.




For Official Use Only                                                                 Page 2 of 5                                                           ATF E-FORM 5030.5
                                                                                                                                                            Revision Date: October 2022
                                           Case 3:23-cv-00129-PDW-ARS Document 1-13 Filed 07/11/23 Page 3 of 5




My signature below certifies that I acknowledge I have reviewed the above information. I understand that this is only a general overview of the violations and that I will be responsible for
familiarizing myself with all of the laws and regulations governing my licensed/permitted business.

__________________________________________________________                                                  _________________________________
Signature                                                                                        Date


__________________________________________________________
Printed Name




For Official Use Only                                                                     Page 3 of 5                                                                          ATF E-FORM 5030.5
                                                                                                                                                                               Revision Date: October 2022
                                         Case 3:23-cv-00129-PDW-ARS Document 1-13 Filed 07/11/23 Page 4 of 5


U.S. Department of Justice
Bureau of Alcohol, Tobacco, Firearms and Explosives                                     Report of Violations Instance Details




For Official Use Only                                                 Page 4 of 5                                           ATF E-FORM 5030.5
                                                                                                                            Revision Date: October 2022
                                           Case 3:23-cv-00129-PDW-ARS Document 1-13 Filed 07/11/23 Page 5 of 5


             Regulation/Violation                                  Instance Details                              Version               Nature of Discrepancy

        27 CFR 478.99(a): Unlawful          1: Sale or Delivery to Out of State Resident, 2022-00467,           2020       1: Licensee transferred handgun (Rock Island
        sale or delivery of a firearm                       , 8/25/2022                                                       Armory, M200, SN: RIA2356754, 38 Special) to
  1     other than a rifle or shotgun to                                                                                      a Georgia Resident.
        an out of state resident




        27 CFR 478.102(a): Failure to       1: NICS Violation, 2022-00467,                          8/25/2022   2020       1: Licensee failed to contact NICS prior to transfer
        complete a NICS/POC                                                                                                   of firearm, Licensee recorded Georgia Weapons
  2     background check                                                                                                      Carry License.




        27 CFR 478.125(e): Failure to       1: Disposition Not Recorded (Reconciled), AERO PRECISION                       1: Firearm was not disposed of in Disposition
        maintain an                           INC., M4E1, M4-0170066, RIFLE                                                   Record within 7 days of transfer. Licensee
  3     accurate/complete/timely                                                                                              provided IOI Temp with invoice of firearm
        acquisition and disposition                                                                                           (gunsmithing services).
        record of firearms




        27 CFR 478.124(c)(3)(iv):           1: ATF F 4473 Error/Omission, 27b, Incorrect,                       2020       1: Licensee failed to record NTN in Item 27b,
        Failure to record NICS contact        11/11/2022                                                                      Licensee recorded transferee's social security
        information on an ATF F 4473                                                                            2020
                                                                                                                              number.
                                            2: ATF F 4473 Error/Omission, 27b, Incorrect,
                                              3/28/2022
                                                                                                                           2: Licensee recorded incorrect NTN in Item 27b.
  4                                                                                                                           IOI Temp conducted a NTN Inquiry via Leep
                                                                                                                              with results of: NTN does not exist. IOI Temp
                                                                                                                              contacted NICS Liaison, and the liaison stated
                                                                                                                              the NTN number is missing a digit. IOI Temp
                                                                                                                              went back to FFL to review all forms to see if the
                                                                                                                              NTN was duplicated and found nothing that
                                                                                                                              would demonstrate the NTN was duplicated, and
                                                                                                                              no evidence the NTN was falsified but recorded
                                                                                                                              on the form incorrectly.



For Official Use Only                                                                 Page 5 of 5                                                          ATF E-FORM 5030.5
                                                                                                                                                           Revision Date: October 2022
